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WSP Manua|

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1. any indictment information or other criminal complaint or plea agreement for conduct
reportable under paragraph (a)(1)(E) of this Rule;

2. any complaint in which a member is named as a defendant or respondent in any securities- or
commodities-related private civil litigation. or is named as a defendant or respondent in any
tinancia|-re|ated insurance private civil litigation;

3. any securities- or commodities-related arbitration claim, or tinancial-related insurance
arbitration claim. filed against a member in any forum other than the F|NRA Dispute
Resolution forum;

4. any indictment, information or other criminal complaint, any plea agreement, or any private
civil complaint or arbitration claim against a person associated with a member that is
reportable under question 14 on Form U4, irrespective of any dollarthresholds Form U4
imposes for notificationl unless, in the case of an arbitration claim, the claim has been filed in
the F|NRA Dispute Reso|ution forum.

3.14 Money Laundering

[FlNRA Ru|e 3310; Bank Secrecy Act]

This section provides a brief overview of the employee's responsibilities concerning the prevention
and detection of money |aundering. Please refer to the chapter titled "Anti-Money Laundering (AML)
Program" for more detailed information about Alpine's AML Program.

3.14.1 Reports Of AML Non-Comp|iance And Other Potential Crimes

All employees are obligated to promptly report to the AML Compliance Ofticer or designee any known
or suspected violations of anti-money laundering policies as well as other suspected violations or
crimes. |f the potential violation implicates the AML Officer. it should be reported to a senior officer of
Alpine. All reports are confidential and the employee will suffer no retaliation for making them.

What to report: Crimes or suspected crimes by individuals (whether associated with Alpine, a
customer, or prospective customer) are required to be reported. This includes suspicion that Alpine is
being used as a conduit for criminal activity such as money laundering or structuring transactions
(discussed below) to evade the Bank Secrecy Act reporting requirements There is no clear definition
of what constitutes a "crime." |f you believe some improper or illegal activity is occurring. it is your
obligation to be attentive and alert to the red flags and report to the AML Compliance Ofticer or
designee any new or existing customers who may be engaged in violations of anti-money laundering
regulations

SAR reports: By |aw, Alpine and its employees cannot disclose to the customer or anyone other than
authorized parties that it has filed a SAR or provide information that would reveal the existence of a
SAR. Questions regarding SAR filings should be referred to Compliance. lf you become aware of an
unauthorized disclosure of an SAR or you receive a subpoena for an SAR, immediately contact the
Compliance Department. Designated Compliance personnel will be responsible for contacting
F|NCEN to report the unauthorized disclosure

3.14.2 ldentity Theft

identity thieves use someone's personal identifying information to open new accounts and misuse
existing accounts. Alpine has established an identity Theft Prevention Program (lTPP) to help detect
and prevent identity theft. Many elements of detecting or preventing identity theft utilize similar
techniques to that of the anti-money laundering (AlVlL) requirements included within these policies

The lTPP is based on identifying "red flags" which may indicate an occurrence of identity theft. lt is
the responsibility of all employees to be attentive and alert to the red flags and report to the
AML Compliance Oh‘ir:er any new or existing customers who may be engaged in violations of

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anti-money laundering regulations, identity theft or who have reported an instance of identity
theft.

For a list of potential identity theft red flags, refer to the section titled "Red Flag IdentiHcation and
Detection Gn'd" located in the ldentity Theft Prevention Program (FTC Fact Act Red Flags Rule)
section.

3.15 Emergency Business Recovery Procedures

[FiNRA Ruie 4370]

Alpine has a Business Continuity Plan ("BCP") that assigns responsibilities and outlines procedures in
the event of a disaster, emergency or pandemic which impacts the ability of A|pine to continue
conducting business (also termed a "significant business disruption"). Examp|es of a significant
business disruption include a regional power outage; disruption at another company that provides
services critical to A|pine; and destruction of an office or other facilities by natural causes or by other
means. The BCP designates employees who are responsible for employee safety and protection of
firm property, records, and customer assets

ln the event of a disruption, employees will be given instructions by authorized personnel Depending
on the nature of the emergency. it may be necessary to use alternate communication systems;
transfer personnel and/or business activities to alternate office space; or transfer Alpine's business to
other brokerage firms or financial institutions until normal operations can be resumed.

Alpine has established procedures for contacting employees in the event of an emergency. lf Alpine
conducts a test of its emergency procedures, all employees are required to participate as if the
emergency were rea|. Past emergencies affecting the securities industry have shown that
preparedness and cooperation are key to maximizing the safety of employees and minimizing
business interruptions lt is important for all employees to follow instructions from senior management
and other authorized key personnel during any drill or when an emergency occurs.

Questions regarding Alpine's Business Continuity P|an may be referred to the Chief Operating thcer.

 

 

 

 

Responsibi|ity ¢ COO
Resources ¢ Business Continuity Records
Frequency » Annual|y or as required
Acti°n o Administer the Business Continuity P|an

- Perfomi annual tests for compliance with the policy

 

Copies of Alpine's business continuity plan

 

 

 

 

Record . . . .
Copies of dates rn which the plan rs tested
|lnsert Section Here[
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9 ANTl-MONEY LAUNDER|NG (AML) PROGRAM

[FlNRA Rule 3310; Bank Secrecy Act]

Money laundering is a serious crime potentially related to the funding of terrorist activities. lt is the
subject of extensive federal regulations that impose requirements on financial institutions, such as
broker-dealers and their employees, to detect and prevent potential money laundering activities
Actions to detect and prevent money laundering is an obligation of each employee of Alpine.

Money laundering is the movement of criminally derived funds to conceal the true sourcel ownership,
or use of the funds. The funds are Hltered through a maze or series of transactions, so the funds are
"cleaned" to look like proceeds from legal activities.

|n genera|, money laundering occurs in three stages. Cash first enters the financial system at the
"placement" stage, where the cash profits derived from criminal activity are converted into monetary
instruments, such as money orders or traveler's checks, or deposited into accounts at financial
institutions At the "layering" stage, the funds are transferred or moved into other accounts or other
financial institutions to separate further the proceeds from their criminal origin. At the "integration“
stage. the funds are reintroduced into the economy and used to purchase legitimate assets or to fund
further criminal or legitimate activities

Engaging in money laundering is a federal crime with severe penalties for those engaged in the
associated criminal activities and those who facilitate, intentionally or inadvertent|y, money laundering
lt is important that Alpine, as well as all employees, remain diligent and active participants in Alpine's
anti-money laundering (AML) program.

This chapter explains Alpine's Anti-Money Laundering (AML) Program. An explanation of money
laundering and guidance for all employees to detect money laundering is included in this chapter.
These policies will be updated and appropriate procedures and action effected when new rules are
adopted.

9.1 Background

The Currency and Foreign Transactions Reporting Act, also known as the Bank Secrecy Act (BSA).
and its accompanying regulation, is a tool the U.S. government uses to fight drug trafficking, money

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laundering, and other crimes Congress enacted the BSA to prevent financial service providers (such
as banks and broker-dealers) from being used as intermediaries for, or to hide the transfer or deposit
of, money derived from criminal activity. Money laundering schemes may include the use of wire
transfersl cash, bearer instruments travelers' checks money orders, cashiers' checksl and other
negotiable instruments

Alpine is required to comply with the reporting, recordkeeping, and record retention requirements of
the BSA. The requirements govern the payment, receipt, or transfer of currency within, into and out of
the U.S. and foreign financial transactions and accounts

9.2 Shel| Companies
[F|NCen advisory on shell companies http:/lwww.frncen.gov/AdvisoryOnShel|s_FlNAL.pdf]

She|l companies may represent potential money laundering risks "Shell company" refers to non-
publicly traded corporations limited liability companies (LLCs)l and trusts that typically have no
physical presence (0ther than a mailing address) and generate little or no independent economic
value. lt is important for employees to be aware of the risks involved in dealing with shell companies

Most shell companies are formed for legitimate business purposes such as to hold stock or intangible
assets of another business entity or to facilitate domestic and cross-border currency and asset
transfers and corporate mergers Unfortunately, shell companies have become common tools for
money laundering and other financial crimes primarily because they are easy and inexpensive to form
and operate, and ownership and transactional information can be concealed from regulatory and law
enforcement authorities Most states do not collect or require disclosure of ownership information at
the formation stage or alter.

Agents also known as intermediaries or nominee incorporation services (N|S), can play a central role
in the formation and maintenance of shell companies Agents and N|S nrms offer a wide range of
services that may include offering an office address mail-forwarding services local telephone listings
and other services that may give the appearance of a locally-established business Some agents and
N|S firms also provide nominee services which can preserve a client's anonymity. Some risk
indicators of shell companies potentially engaged in money laundering are:

o An inability to obtain (through lntemet searches commercial database searches or direct
inquiries to the company's foreign correspondent bank) information necessary to identify
originators or benenciaries of wire transfers

~ A foreign correspondent bank exceeds the anticipated volume projected in its client profile for
wire transfers in a given period or an individual company exhibits a high amount of sporadic
activity that is inconsistent with normal business patterns

¢ Payments have no stated purpose, do not reference goods or services or identify only a
contract or service number.

o Goods or services of the company do not match the company's profile based on infon'nation
previously provided.

~ Transacting businesses share the same address provide only a registered agent's address
or raise other address-related inconsistencies

~ An unusually large number and variety of benehciaries receive wire transfers from one
company.

Frequent involvement of benehciaries located in high-riskl offshore financial centers
lVlu|tiple high-value payments or transfers between shell companies with no apparent
legitimate business purpose.

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9.3 Pena|ties

Participation in a money laundering scheme or the knowing receipt of proceeds from criminal activities
is a crime. Alpine and its employees are subject to severe criminal, civil, and regulatory penalties if
they facilitate or participate in money laundering activities Violations by employees may result in
internal disciplinary action including termination.

An employee may be deemed to be facilitating or participating in money laundering by engaging in a
transaction with a customer (accept a depositl arrange a withdrawal, effect a trade, efc.) when he or
she is aware ofl or willfully ignores the fact that the customer is engaged in illegal activities

9.4 AML Compliance Officer

[NASD Rule 1160; F|NRA Ru|e 331 U(d) and 3310.02|

 

Resp°nsib"ity o AML Compliance Officer

 

o Computer reports and other programs developed for the Program
» lntemal audits or outside audits of the Program

o Regulations and rules for broker-dealer anti-money laundering
Resources programs

OFAC web site

Other sites and resources available

 

~ Annual - review policies and procedures

o Annual and more frequent|y, as needed - develop and schedule AML
education for employees

o As needed - update program and provide revisions to senior
management for review and approval of material changes Non-

Frequency material changes to the AML Policy will not require senior
management approval

o Annual|y - review AML contact information on file with F|NRA

~ Ongoing - review new regulations

~ Ongoing - monitor activity

 

Deve|op and update Alpine's anti-money laundering program
Obtain senior management approval for any material changes to the
program and any material changes to the policy
o Monitor (or designate monitoring) the activity of Alpine, its associated
persons and customers to reasonably detect and prevent money
laundering activities
Develop AML education program for employees and schedule training
File required reports
Retain required records
Provide contact information to F|NRA and update contact information
if necessary

Action

 

Designation of AML Compliance Officer
Current and past copies of anti-money laundering program with senior
management approval, when and where senior management approval
is required

~ Records of AML education including who attended, date of training,
and material covered

Record

 

 

 

 

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c Repoits filed
~ Other records to be retained, as listed in the Program

 

 

 

 

A|pine has designated an AML Compliance Officer who is responsible for overseeing Alpine's anti-
money laundering programl developing policies procedures and internal controls reasonably
designed to achieve compliance with AML rules and regulations Contact the AML Compliance Officer
whenever you have questions about Alpine's program, a current or prospective account, or activities
or transactions that raise questions about potential money laundering activities You may also provide
information anonymously to the AML Compliance Officer. The AML Compliance Officer is responsible
for investigating suspected money laundering activities and taking corrective action when necessary.

9.5 independent Testing

[FlNRA Ruie 3310.011

 

Resp°nsibi"ty o AML Compliance thcer

 

- Policies and procedures
Resources . independent testing results

 

c Annual - schedule. conduct, and follow up testing (un|ess firm qualifies
Frequency for testing every two years)

 

identify person(s) to conduct testing

Conduct testing

Report results to CEO in annual compliance report

Revise policies and procedures as necessary

Conduct follow-up to determine corrective action has been taken

Action

 

- independent testing results including who conducted and dates of
review
Report to CEO
Record of changes to policies and procedures resulting from testing
Record of follow-up actions

Record

 

 

 

 

The AML Compliance Officer will be responsible for an annual (on a calendar-year basis) independent
testing ofAlpine's policies and procedures regarding money laundering and the effectiveness of the
program, as described in this Chapter 9. The tests performed will be either by an employee of Alpine,
if such employee qualihes pursuant to the SRO rules for independence set forth below, or by a
qualified non-employee. third party. At the discretion of Alpine's Board of Directors, the AML
Compliance Officer may be directed to conduct interim testing of Alpine's policies and procedures
regarding money laundering and the effectiveness of the program, if they believe such interim tests
are warranted

SRO rules require that the person(s) conducting the independent testing of Alpine's AML program:

- is not the AML Compliance Officer
o is not performing any AML procedures that are being tested and reviewed
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o is not an individual who is supervised by or otherwise reports to the AML Compliance Officer
or to someone who performs any AML procedures

o is knowledgeable regarding the Bank Secrecy Act, money laundering activities and related
regulations

9.6 Training Program

All employees are provided with Alpine's Money Laundering policy when they are hired. ln addition,
ongoing education will include the firm element continuing education program, periodic circulation of
Alpine's policyl and other educational programs directed at specific employees Training will be
delivered at least annually by video, intranet systems in-person lectures and other methods including
third parties who deliver AML training.

Training will include the followingl as well as other subjects identified by the AML Compliance Officer:

~ How to identify red flags and signs of money laundering

~ What to do once the risk is identified (how, when and to whom to escalate unusual customer
activity or other red flags)

~ Employees‘ roles in Alpine's compliance efforts and how to perform them
Alpine's record retention policy
Disciplinary consequences (including civil and criminal penalties) for non-compliance

The AML Compliance Officer or designee is responsible for retaining records of employees trained.
the dates of trainingl and the subjects included in training.

9.7 OFAC List And B|ocked Property

[Dept. of Treasury, various statutes; OFAC web site (http://www.treas.gov/officeslenforcement/ofad); Foreign Assets Control
Regulations For The Securities industry (http:/lwww.treas.gov/omceslenforcement/ofaclregulations/t11facsc.pdf)]

 

 

 

 

 

 

 

 

- RR for a new account
- Supervisor approving new accounts
Responsibility - AML compliance officer as set forth in

Chapter 1 .1

o Name l Entity search based on above
referenced OFAC web site

» Comparison search program provided
by CSS Hosted Solutions LLC

R r
es°urces ¢ Other sight identified below and

at( wvi/W. treas go v/ofacl
(www.fincen.goi/)

¢ At the time that a new account is
opened

Frequency _ Daily

~ RR shall perform an OFAC search for

each new customer and attach results
Action to new account card

- Supervisor approving the new account
shall only approve an account if an
OFAC search is attached to the new

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account card. lf a positive identification
is made. the AML Compliance Officer
shall be notiHed immediately

¢ lf a positive identification is found, the
AML Compliance Officer shall:

1- B|ock accounts subject to sanctions
2- Cance| open orders for blocked
accounts

~ 3- Notify the Branch Office Supervisor,
the Compliance Oflicer, and the
account's RR, when an account or
security is blocked

o 4- Notify OFAC by FAX within 10 days
of blocking an account

¢ 5- Notify Dreyfus Service Corporation
with respect to funds in a blocked
account having been swept into the
Dreyfus Money Market account.

~ Daily, CSS Hosted Solutions LLC will
provide Alpine's AML compliance
officer with an OFAC screening report.

» The daily OFAC screenings report shall
be initialed and dated by the AML
compliance officer as evidence of its
review and such report shall be
retained by the AML compliance officer.

 

~ RR for each new account shall attach
the OFAC search results to each
customers new account card

¢ The results of each CSS Hosted

Record Solutions LLC system searoh,

subsequent OFAC searches

undertaken, and any actions taken,
shall be retained

 

 

 

 

The U.S. Treasury Department's Office of Foreign Assets Control (OFAC) is responsible for publishing
sanctions against persons corporations and other entities including foreign governments that have
been identified by the U.S. Government as engaging in criminal activities including drug trafficking and
terrorist activities Alpine is obligated to check its accounts against the lists of blockings to ensure it
does not engage iri prohibited transactions which include securities transactions and transfer of assets
out of a blocked account or to a blocked person or entity. Alpine has procedures to monitor the OFAC
lists and comply with requirements to block property and notify OFAC when required. Questions
regarding Alpine's program should be referred to the AML Compliance Officer. More information is
also available at the OFAC web site at www.treas.gov/ofac.

The property of sanctioned persons or entities will be blocked and transfer of assets prevented for
persons or entities included on the OFAC list of blocked persons or entities ln addition, Alpine will
block securities issued by sanctioned countries and other sanctioned issuers information about
sanctions is divided into several categories including:

o Persons and entities subject to sanctions Special Designated Nationals and Blocked Persons
(SDN list)

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o Persons and entities engaged in drug trafficking. Specially Designated Narcotics Trafrickers
(SDNTKs)

~ Terrorists and terrorist organizations Specia//y Designated Terrorists (SDTs)

~ Countries, govemments, and other entities subject to sanctions

OFAC requirements apply to all persons and entities under U.S. jurisdiction, including foreign
branches of U.S. institutions This also includes foreign institutions that operate in the U.S.

The term "OFAC list" in this section includes all sanctions published by OFAC even though the
information may appear in multiple lists Alpine will not permit prohibited transactions with sanctioned
parties and will file reports with OFAC when necessary

9.7.1 Prohibited Transactions

Alpine is prohibited from conducting transactions in any account on behalf of a sanctioned party or in
certain blocked securities Securities and funds may not be released and securities transactions may
not be executed. Securities and funds may be deposited to a blocked account. but no securities or
funds will be released until the account is no longer subject to sanctions Funds or securities may not
be transferred to sanctioned parties

Because transactions are prohibited, all open orders for a blocked account will be cancelled.

9.7.2 B|ocking Requirements
B|ocking requirements are generally triggered under the following circumstances

An account is opened for someone included on an OFAC list.

The owner of an existing account is added to an OFAC list.

A security is identified in a customer account where the issuer is the subject of sanctions

A request is made by a customer to pay or transfer funds or securities to a blocked person or
entity.

While title to blocked property remains with the blocked person or entity, transactions affecting the
property (including transfer of the assets) cannot be made without authorization from OFAC. Debits to
blocked accounts are prohibitedl but credits may be accepted Cash balances in blocked accounts
must earn interest at commercially reasonable rates Blocked securities may not be paid, withdrawnl
transferred (even in book transfer), endorsed, guaranteed, or otherwise dealt in.

lt is noia violation to open an account for a blocked person. The violation occurs when the account is
not frozen and assets are allowed to transfer out of the account ln addition, OFAC restrictions may
vary depending on the blocked person or entity; details of blocking requirements are explained on the
OFAC web site.

9.7.3 Monitoring procedures
Monitoring is to be concluded as follows:

o Operations personnel and Supervisors approving new accounts are provided with a list of the
countries included on the OFAC countries listl to watch for new accounts to be opened for or
requests to transfer funds or securities to residents of those countries The AML Compliance
Ofncer shall provide an updated list each month by email to all operations personnel and
supervisors

o Alpine undertakes an OFAC search utilizing the www.treas.gov/ofac web site for each new
account and retains the OFAC search results in the new account tile.

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- A|pine continually reviews its existing accounts through the use of the OFAC screenings
report provided by CSS Hosted Solutions LLC. Additiona|ly, on a weekly basis Alpine
undertakes an account rescreening through the use of CSS Hosted Solutions, LLC and
generates an OFAC possible matches (rescreening) report. To evidence review, a report is
produced that is reviewed initialed and retained by the AML Compliance Officer.

9.7.4 Other Requests To Monitor Accounts

Regulators or law enforcement agencies may ask the industry's cooperation in identifying accounts for
individuals or entities under investigation or suspected of criminal activities

The AML Compliance Officer is responsible for responding to such requests; providing the necessary
inforrnation; and retaining records of requests reviews conducted pursuant to requests and
information provided to authorities

9.7.5 B|ocking Property And Disbursements

Any blocked account will not be permitted to engage in transactions other than the acceptance of
deposits of funds or securities Open orders of blocked accounts will be cancelled

Disbursements of funds or securities may not be made to sanctioned parties The AML Compliance
thcer will instruct Alpine's back office to withhold requests for disbursements from blocked accounts
and will maintain a log of all accounts that have been blocked.

9.7.6 Reporting Blocked Property And Legal Actions

When an account or disbursement is blocked or a blocked security is identified, OFAC will be notified
within 10 days of blocking lf Alpine blocks an account or securityl the AML Compliance Officer will file
the necessary report with OFAC. The AML Compliance Officer will be responsible to retain copies of
reports filed by Alpine in a file of blocked accounts or securities |nfonnation to be reported includes

Owner or account party

Property and property location

Account number

Actual or estimated value

Date property was blocked

Copy of the payment or transfer instructions

Confirrnation that funds have been deposited in a blocked account that is identified as blocked
Name and phone number ofAlpine's AML Compliance Officer

For rejected disbursements the following information is to be filed:

Name and address of the transferee financial institution
Date and amount of the transfer

Copy of the payment or transfer instructions

Basis for rejection

Name and phone number of Alpine's Compliance thcer

9.7.6.1 Annual Report Of Blocked Property

On an annual basis by September 30"'l the AML Compliance Officer shall tile Form TDF 90-22.50 with
OFAC for any blocked property held as of June 30.

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9.7.6.2 Legal Actions involving Blocked Property

U.S. persons involved in litigationl arbitration, or other binding alternative dispute resolution
proceedings regarding blocked property must provide notice to OFAC. Copies of all documents
associated with the proceedings will be submitted by the AML Compliance Officer to the OFAC Chief
Counsel at the U.S. Treasury Department within 10 days of their filing. ln addition. information about
the scheduling of any hearing or status conference will be faxed to the Chief Counsel.

9.7.7 Reporting Obligations for All Alpine Employees

All employees are obligated to promptly report to the AML Compliance Officer any known or
suspected violations of anti-money laundering policies as well as other suspected violations or crimes
lf the potential violation implicates the AML Oflicer, it should be reported to a senior officer of Alpine,
All reports are confidential and the employee will suffer no retaliation for making them.

What to report: Crimes or suspected crimes by individuals (whether associated with Alpine, a
customer, or prospective customer) are required to be reported. This includes suspicion that Alpine is
being used as a conduit for criminal activity such as money laundering or structuring transactions
(discussed below) to evade the Bank Secrecy Act reporting requirements There is no clear definition
of what constitutes a "crime." |f you believe some improper or illegal activity is occurring, it is your
obligation to report it.

SAR reports: By lawl Alpine and its employees cannot disclose to the customer or anyone other than
authorized parties that it has filed a SAR or provide information that would reveal the existence of a
SAR. Questions regarding SAR filings should be referred to Compliance. lf you become aware of an
unauthorized disclosure of an SAR or you receive a subpoena for an SAR, immediately contact the
Compliance Department. Designated Compliance personnel will be responsible for contacting
F|NCEN to report the unauthorized disclosure.

9.7.7.1 Role Of Operations Personnel

Operations personnel are an important first line of defense in preventing transactions with sanctioned
parties The following guidance is provided to assist Operations personnel in identifying blocked
parties Any questioned accounts or transactions should be referred to the AML Compliance Officer.

o On a monthly basis the AML Compliance Officer shall provide a current list of countries
included on the OFAC list. These are countries considered potential havens for money
laundering, drug trafficking, or terrorist activities lnfomiation is included on the OFAC web
site at www.treas.gov/ofac.

o On a periodic basis the AML Compliance OfEcer shall provide a current list of countries
included on the Financial Action Task Force (FATF) list. The Financial Action Task Force
(FATF) is the global standard setting body for anti-money laundering and combating the
financing of terrorism. ln order to protect the international financial system from money
laundering and financing of terrorism risks and to encourage greater compliance with their
standards the FATF identified jurisdictions that have strategic deficiencies and works with
them to address those deficiencies that pose a risk to the international financial system.

o When processing the opening of accounts back office employees shall determine if new
accounts have addresses as residents of countries included on the OFAC list and report any
that appear on the list to the AML Compliance Officer.

o Questions regarding requests to transfer funds or securities to residents or entities domiciled
in any country included on the OFAC list shall be reported to the AML Compliance Officer.

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9.7.7.2 Role of Retail Brokerage Personnel

Retail sales personnel are also an important first line of defense in identifying, detecting and/or
preventing transactions Retail sales personnel is in a unique position of knowing the client best. lt is
important that you understand the customers financial resources business activities and sources of
funds to identify when purported or actual activity deviates from the standard transactions one expects
to see in a customer account The process of knowing the customer does not end at the time the
account established The process of knowing the customer continues through the ongoing
maintenance of the client's account Any questioned accounts or transactions should be referred to
the AML Compliance Officer or designee

9.8 Currency Reporting Requirements

[SEC Securities Exchange Act of 1934 Rule 17a-8; Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart C; FinCEN
pamphlet on CTR reporting: http:/Iwww.incen.govlwhalsnew/l'itml/20080224.html]

The Bank Secrecy Act requires broker-dealers to report certain transactions relating to currency
transactions as follows:

» Report cash or currency deposits of more than $10,000, including multiple deposits on the
same clay that would total more than $10,000. A currency Transaction Report (CTR) is filed
with the Financial Crimes Enforcement Network (FinCEN), a bureau of the Treasury
Department Some state regulators also require reporting of currency transactions

o Report currency or bearer instruments over $10,000 transferred into or out of the U.S. The
Currency and Monetary instrument Transportation Report (ClVllR) is filed with the U.S.
Customs Service.

The following summarizes the reporting requirements under the Bank Secrecy Act. Alpine's CFO is
responsible for maintaining records of any currency reports required to be filed by Alpine and retaining
them for nve years

9.8.1 Transactions |nvo|ving Currency Over $10,000

lf Alpine accepts a currency deposit exceeding $10.000, it is required to file a Currency Transaction
Report (CTR) with the Financial Crimes Enforcement Netwoii< (FinCEN). Multiple transactions by the
same person equaling over $10,000 in any one day must also be reported Alpine's Operations
Principal is responsible for filing these reports and maintaining records of them for a period of five
years from the filing date.

The back office is responsible for receiving currency and will process these requests in accordance
with their standard operating procedures Currency deposits in the amount greater than $10,000 will
be reported to the AML Officer. lVlu|tiple transactions by the same person equaling over $10,000 iri
any one day must also be reported to the AML Ocher. The AML Officer will notify Alpine's Operations
Principal to complete the required nlings.

"Currency" is denned as the coin and paper money of the U.S. or legal tender of other countries
Currency also includes U.S. silver certificates U.S. notes federal reserve notes and official foreign
bank notes customarily used and accepted as a medium of exchange in a foreign country.

9.8.2 Transactions involving Currency Or Bearer instruments Over $10,000
Transferred lnto Or Outside The U.S.

Broker-dealers are required to file a Currency and Monetary instrument Transportation Report (CM|R)
with the U.S. Customs Service to report transactions in physical currency and/or bearer instruments
which alone or in combination exceed $10,000 and which are shipped or transported into or outside

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the U.S. This filing is not required for currency or other monetary instruments mailed or shipped
through the postal service or by common carrier. Alpine's Operations Principal is responsible for ming
these reports and maintaining records of them for a period of five yeras from the filing date.

9.8.3 Prohibition Against Structuring Deposits To Avoid Reporting

Cash or currency deposits or attempted deposits which appear to be part of a deposit structure to
avoid lRS or Customs currency reporting requirements or Alpine's limitations or are othenNise
suspicious may not be accepted and must be reported to the Branch Manager. Employees are
prohibited from:

~ aiding or advising a customer in structuring a transaction to avoid reporting requirements
o holding instruments for deposit on succeeding days
o transporting cash or cash equivalents or bearer instruments to a bank on behalf of a customer

9.8.4 State Reporting Requirements

States have adopted various currency and suspicious activity reporting requirements Most states
have entered into an agreement with FinCEN to provide them with duplicate copies of foms filed by
broker-dealers Some states however, require duplicate filing with the states themselves at the time
the broker-dealer files with a federal agency. Alpine's CFO will tile reports as required under state
requirements

9.9 Foreign Financial Account Reporting Requirements And
Recordkeeping (FBAR)

[Bank Secrecy Act 31 CFR Chapter X Part 1010 Subpart C; Form: http://www.nncen.gov/formsllileslf9022-1_fbar.pdf; FinCEN
Notice 2012-11

Certain "United States persons" that maintain accounts (including any account where the person has
a financial interest in, or signature or other authority over) in foreign jurisdictions and with aggregate
balances exceeding $10,000 are required to file a Report of Foreign Bank and Financial Accounts
(FBAR) Department of Treasury Form 90-22.1 with FinCEN on or before June 30°‘ of each calendar
year for accounts maintained during the previous calendar year. Certain U.S. persons with signature
authority over, but no financial interest in, foreign financial accounts of their employers and entities
related to their employers have an extension until June 30, 2013 to file Form 90-22.1 (see FinCEN
Notice 2012-1). The F|NOP is responsible for filing the annual report if it is required for Alpine,

The Eling requirement applies to:

Non-resident aliens and foreign entities "in and doing business" in the U.S.

All forms of U.S. business entities trusts estates with foreign accounts

U.S. citizens and residents with signature or other authority over a foreign account

Trust beneficiaries with a greater than 50% beneficial interest in a trust with a foreign account
U.S. citizens and resident stockholders with greater than 50% of the value or vote of the
shares of a corporation with foreign accounts

o Entities that are disregarded for tax purposes such as limited liability companies

The filing requirement does not apply to certain entities or situations The regulation should be
consulted for specific exemptions or conditions of exemptions

o lf the account is maintained in the United States it is not considered a foreign account even if
it holds foreign assets

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o An omnibus account held by a custody bank that holds assets both in the U.S. and outside
the U.S. is not considered a foreign account unless the customer has direct access to its
foreign holdings maintained at the foreign institution.

~ Certain entities are excluded inoluding: foreign hedge funds venture capital funds, or private
equity funds; tax-exempt investors that own offshore "blocker corporations;" government
pension funds; pension plan participants and lRA owners (provided the trustee files a FBAR);
investment advisers and employees of such advisers that provide advice to SEC-registered
entities; remainder interests in trusts and beneficiaries of discretionary trusts; employees of a
U.S. or foreign entity that issued a class of foreign equity (including ADRs) registered with the
SEC.

There also are exemptions for officers or employees with signature or other authority over certain
foreign financial accounts but no financial interest in the reportable account The regulation should be
consulted for details regarding who is not required to notify FinCEN regarding signature or other
authority over such an account

9.10 Recordkeeping Requirements

[Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart D]

|n addition to maintaining records cf reports filed with the |RS or other authorities broker-dealers are
obligated to maintain records of certain transactions for potential inspection by regulators and other
authorities These records must be retained for five years

9.10.1 Fund Transfers And Transmitta|s

[Bank Secrecy Act 31 CFR Chapter X Part 1010 Subpart D; F|NRA Notice to Members 97-13, 96-67 and 95-69; SEC Q&As:
http://www.sec.govlabouf!offices/ocielam|2007lfincen~advissu7.pdf: SEC Q&As:
http:l/www.sec.govlaboul/offices/oclelaleOO?/fincen-advsiii.pdf]

Broker-dea|ers are required to collect and retain information (such as name, address account number
of customer, date and amount of wire, payment instructions name of recipient institution. and name
and account information of wire payment recipient) and maintain records for domestic and
international funds transfers (including wire fund transfers) of $3,000 or more, with certain exceptions
This includes transfers between accounts that are not for the same owner and transfers to third
parties including banks and other hnancial institutions Records of transfers are available for
inspection by regulators and other appropriate authorities when requested

Alpine (and its clearing firm or other third party, if applicable) is responsible for complying with the
requirements to record information regarding fund transfers and, when required, verifying information
regarding transmitters and recipients who are not established customers Examp|es of verification
information include:

Name and address

|D reviewed (type and number on the lD)

Taxpayer lD number (or alien lD or passport number including country of issuance)
Copy or record of method of payment (e.g., credit card, check)

9.10.2 Other Recordkeeping Requirements

[Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart D 1023.410]

The Bank Secrecy Act incorporates other records requirements that include records covered by Books
And Records in the chapter FINANC/AL AND OPERA T/ONS PROCEDURES. A|pine will retain all of
the following required records:

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1. Trading authorizations which are addressed in the chapter ACCOUNTS

2. Records under 17a-3 which are addressed in the chapter FlNANCIAL AND OPERA T/ONS
PROCEDURES

3. A record of each receipt of currency, other monetary instruments checks, or investment
securities and of each transfer of funds or credit of more than $10.000 received on any one
occasion directly and not through a domestic financial institution, for any person, account or
place outside the United States

9.11 Detecting Potential Money Laundering

o AML Compliance Officer
o Other designated supervisor for review of AML Compliance Officer
accounts

 

Responsibility

 

Resources o lntemal reports of transactions available exception reports

 

Frequency ’ Daily and Ongoing

 

o Review reports of transactions (cash and security transactions) to
identify potential money laundering (including employee accounts)

o Another designated supervisor will review the AML Compliance

Action thcer's accounts

o Report suspicious activity (see the policy in this chapter)

¢ Notify RRs, supervisors and close accounts when necessary

 

Reports reviewed
Action takenl when necessary

Re‘=°'d . suspicious activity reports

 

 

 

Alpine has an ongoing program to identify potential money laundering. Monitoring will be conducted
using available exception reports or review cfa sufficient amount of account activity to permit
identification of patterns of unusual sizel volume, pattern or type of transactions geographic factors
such as whetherjuiisdictions designated as "non-cooperative" are involvedl or involve "red flags"
(indicators of potential money |aundering) which are included in the Money Laundering policy in the
chapter GENERAL EMPLOYEE POLICIES. items reviewed include trading and wire transfer
transactions in the context of other account activity to determine if a transaction lacks financial sense
or is suspicious because it is an unusual transaction or strategy for that customer. Among the
information used to determine whether to file a suspicious activity report are exception or transaction
reports that include transaction sizel |ocation, type, number, and nature of the activity.

Trading accounts will be identified and monitored where a series of financial transactions may help
obscure the origins of the funds This may include effecting securities transactions closing the
account, and transferring funds to a bank or other account, particularly to an offshore location. Trading
penny stocks (which may involve unregistered distributions) or engaging in retail forex trading will. in
particular, be monitored when they occur.

A|pine has included an educational policy (Money Laundering) in the chapter GENERAL EMPLOYEE
POL/C/ES to educate employees on money laundering and guidelines for detecting money laundering
activities Periodica|ly detection of money laundering and the obligation to report suspicious activities
will be included in continuing education and other educational programs for employees

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9.11.1 Foreign Currency Transactions

Foreign financial institutions may purchase U.S.-denominated bonds generally issued by foreign
govemments, with the local currencyl which are then transferred to a U.S. broker-dealer and sold. with
proceeds then transferred offshore. U.S. broker-dealers act as intermediaries in these transactions
and may receive foreign bonds or other securities worth millions of U. S. dollars without knowing who
or how many underlying customers may be involved. RRs and [The Finn] must be diligent about such
transactions which may involve money laundering

9.12 information Sharing Between Financial lnstitutions

[USA PATR|OT Act Section 314(b); Bank Secrecy Act 31 CFR Chapter X Pait 1023 Subpart E; FinCEN certiiwtion:
hftp:l/www.fincen_gov/ti_infoappb.himi]

Alpine does not share information with other financial institutions regarding accounts and account
activity unless it has nled the requisite certihcation with the Financial Crimes Enforcement Network
("FinCEN") to allow Alpine to share information pursuant to Section 314(b) of the USA PATR|OT Act
Alpine may share information with an afli|iated company, including its parent company, if the nnancial
institution has filed a current 314(b) form with FinCEN.

9.13 Alpine's Employee Reporting Ob|igations

All employees are obligated to promptly report to the AML Compliance Ofnoer or designee any known
or suspected violations of anti-money laundering policies as well as other suspected violations or
crimes |fthe potential violation implicates the AML Officer, it should be reported to a senior officer of
Alpine. All reports are confidential and the employee will suffer no retaliation for making them.

What to report: Crimes or suspected crimes by individuals (whether associated with Alpine, a
customerl or prospective customer) are required to be reported. This includes suspicion that Alpine is
being used as a conduit for criminal activity such as money laundering or structuring transactions
(discussed below) to evade the Bank Secrecy Act reporting requirements There is no clear definition
of what constitutes a "crime." |f you believe some improper or illegal activity is occuriing, it is your
obligation to be attentive and alert to the red fiags and report to the AML Compliance Officer or
designee any new or existing customers who may be engaged in violations of anti-money laundering
regulations

SAR reports: By lawl Alpine and its employees cannot disclose to the customer or anyone other than
authorized parties that it has filed a SAR or provide information that would reveal the existence of a
SAR. Questions regarding SAR filings should be referred to Compliance. if you become aware of an
unauthorized disclosure of an SAR or you receive a subpoena for an SAR, immediately contact the
Compliance Department Designated Compliance personnel will be responsible for contacting
F|NCEN to report the unauthorized disclosure

9.14 Suspicious Activity Reports (SARs)

[USA PATR|OT Act Sec. 356; FinCEN Guidanoe on Suspicious Activity Report Supporting
Documentation: http://www.lincen.gov/Supporting_Documentation_Guidance.pdi". FinCEN Guidanoe
F|N-2008-GOOS ]

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Resp°nsihmty o AML Compliance Officer
- Reports from employees of crimes or suspected crimes
Resources ¢ Suspicious activities detected through ongoing reviews
v Other available information
Frequency o As required
~ Review and investigate suspicious transactions referred by employees
¢ Deterrnine whether Alpine will file a SAR
Action ¢ lf appropriatel file Form SAR-SF with FinCEN and state authorities
o Notify senior management as appropriate, of forms filed
o Notes and other documented reviews are retained in a suspicious
activity file
Record c Copies of SARs filed by Alpine are retained in the SAR file with
notation of when and to whom sent

 

 

 

 

Alpine will file Suspicious Activity Reports (SARs) for transactions that may be indicative of money
laundering activity. Suspicious activities include a wide range of questionable activities Examp|es
may include, but are not limited to, trading that constitutes a substantial portion of all trading for the
day in a particular security; trading or joumaling between/among accounts particularly between
related owners; late day trading; heavy trading in low-priced securities unexplained wire transfers
including those to known tax havens; unusually large deposits of funds or securities; shares of
physical securities of low-priced securities that have an issue date of less than 12 months and are
more than one million shares or have a market value over a certain amount

Detennining whether an activity or series of activities is suspicious is a facts and circumstance

analysis Such determinations will be made by the AML Compliance Officer or designee.

9.14.1 Potential Risk indicators
[NASD Notice to Members 02-21]

 

The followiLq are examples of risk indicators (red flags) that may suggest potential money laundering.

Red Flags indicating potential Money Laundering

 

The customer exhibits unusual concern regarding Alpine's compliance with government reporting
requirements and Alpine's AML policies particularly with respect to his or her identity, type of
business and assets or is reluctant or refuses to reveal any information concerning business
activities or furnishes unusual or suspect identification or business documents

 

The customer wishes to engage in transactions that lack business sense or apparent investment
strategy. or are inconsistent with the customer's stated business strategy.

 

The information provided by the customer that identihes a legitimate source for funds is false,
misleading, or substantially incorrect

 

Upon request the customer refuses to identify or fails to indicate any legitimate source for his or
her funds and other assets

 

 

 

The customer (or a person publicly associated with the customer) has a questionable background

 

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or is the subject of news reports indicating possible criminal, civii, or regulatory violations

 

The customer exhibits a lack of concern regarding risks commissions or other transaction costs

 

The customer appears to be acting as an agent for an undisclosed principal, but declines or is
reluctant, without legitimate commercial reasons to provide information or is otherwise evasive
regarding that person or entity.

The customer has difficulty describing the nature of his or her business or lacks general knowledge
of his or her industry.

 

 

The customer engages in suspicious activity involving the practice of depositing penny stocks
liquidates them, and wires proceeds A request to liquidate shares may also represent engaging iri
an unregistered distribution of penny stocks which may also be a red flag. [FlNRA Regulatory
Notice 09-05]

The customer attempts to make frequent or large deposits of currency, insists on dealing only in
cash equivalents or asks for exemptions from Alpine's policies relating to the deposit of cash and
cash equivalents

The customer engages in transactions involving cash or cash equivalents or other monetary
instruments that appear to be structured to avoid the $10,000 government reporting requirements
especially if the cash or monetary instruments are in an amount just below reporting or recording
thresholds.

For no apparent reason, the customer has multiple accounts under a single name or multiple
names with a large number of inter-account or third-party transfers

 

 

 

 

The customer is from, or has accounts inl a country identified as a non-cooperative country or
territory by the Financial Action Task Force (FATF).

The customers account has unexplained or sudden extensive wire activity, especially in accounts
that had little or no previous activity.

The customers account shows numerous currency or cashiers check transactions aggregating to
significant sums

The customers account has a large number of wire transfers to unrelated third parties inconsistent
with the customers legitimate business purpose.

 

 

 

 

The customers account has wire transfers that have no apparent business purpose to or from a
country identified as a money laundering risk or a bank secrecy haven

 

The customers account indicates large or frequent wire transfers immediately withdrawn by check
or debit card without any apparent business purpose.

 

The customer makes a funds deposit followed by an immediate request that the money be wired
out or transferred to a third party, or to another finn, without any apparent business purpose

 

The customer makes a funds deposit for the purpose of purchasing a long-term investment
followed shortly thereafter by a request to liquidate the position and transfer of the proceeds out of
the account

 

The customer engages in excessive journal entries between unrelated accounts without any
apparent business purpose.

 

The customer requests that a transaction be processed in such a manner to avoid Alpine's normal
documentation requirements

 

The customer. for no apparent reason or in conjunction with other "red fiags," engages in
transactions involving certain types of securities such as penny stocks Regulation "S" (Reg S)
stocks and bearer bonds which although legitimate. have been used in connection with fraudulent
schemes and money laundering activity. (Such transactions may warrant further due diligence to
ensure the legitimacy of the customers activity.)

 

The customers account shows an unexplained high level of account activity with very low levels of
securities transactions

 

 

 

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The customer maintains multiple accounts or maintains accounts in the names of family members
or corporate entities for no apparent business purpose or other purpose.

 

The customers account has inflows of funds or other assets well beyond the known income or
resources of the customer.

 

 

 

9.14.2 identifying Potential Suspicious Activity
Alpine uses a number of tools to identify potential suspicious activity including:

o Transaction information including disbursement of funds or securities are reviewed
periodically by the Branch Manager and AML compliance officer.

o The AML Compliance Ofncer provides education to Alpine's RR, to Supervisors approving
new accounts operations personnel and to the Branch Manager.
Employee reports of potential suspicious activity are given to the AML Compliance Officer
lt is always at the manager or AML Compliance Officers discretion, when taking into
consideration all factors when a SAR Form should be filed.

All employees have an ongoing obligation to report potentially suspicious activity to the AML Officer or
designee.

9.14.3 When A Report Must Be Filed

A SAR must be Hled for any transaction that. alone or in aggregatel involves at least $5.000 in funds
or other assets if Alpine knows suspects or has reason to suspect that the transaction (or a pattern
of transactions of which the transaction is part) falls into one of the following categories

o Transactions involving funds derived from illegal activity or intended or conducted to hide or
disguise funds or assets derived from illegal activity.

o Transactions designed, whether through structuring or other means to evade the
requirements of the Bank Secrecy Act (BSA).

o Transactions that appear to serve no business or apparent lawful purpose or are not the sort
of transactions in which a particular customer would be expected to engage, and for which
Alpine knows of no reasonable explanation after examining the available facts

o Transactions that involve the use of Alpine to facilitate criminal activity.

Excluded from the Eling requirement are violations othenivise reported to law enforcement authorities
such as:

a robbery or burglary that is reported to law enforcement authorities

iost. missing, counterfeit or stolen securities reported pursuant to 17f-1

a violation of federal securities laws or SRO rules by Alpine, its officers directors employees
or RRs that are reported to the SEC or SRO, except for violations of Rule17a-8 (Gling of
Currency and Transaction Reports) which must be reported on a SAR

9.14.4 Filing A Report And Emergency Notification
lf Alpine determines to file a SAR with FinCEN, the AML Compliance Officer will file:

within 30 days of becoming aware of the suspicious transaction; or

~ if no suspect has been identified within 30 calendar days of detectionl reporting may be
delayed an additional 30 calendar days or until a suspect has been identified. but no later
than 60 days from date of initial defection.

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|n situations involving violations that require immediate attention (such as terrorist financing or
ongoing money laundering schemes), the AML Compliance Ofncer will immediately notify by
telephone an appropriate law enforcement agency. Suspicious transactions that may relate to terrorist
activity may also be reported to FinCEN's Financial institutions Hotline. In either event a SAR will be
filed.

9.14.4.1 Emergency Notification

[FlNRA Notice lo Members 02-21]

When conducting due diligence or opening an account Federa| authorities will be notiied immediately
by the AML Compliance Ofncer, when necessary, in the following situations

o A legal or beneficial account holder or person is engaged in a transaction listed on or located
in a country or region listed on the OFAC iist.

o An account is held by an entity that is owned or controlled by a person or entity listed on the
OFAC list.

o A customer tries to use briberyl coercion. or similar means to open an account or carry out a
suspicious activity.

¢ There is reason to believe a customer is trying to move illicit cash out of the govemment‘s
reach.

~ There is reason to believe the customer is about to use funds to further an act of terrorism.

Emergency contacts include:

OFAC Hotline

Financial lnstitutions Hotline
Local U.S. Attomey‘s office
Local FB| office

Local SEC office

9.14.5 Retention Of Records

The AML Compliance Officer maintains a file of copies of SARs filed with FinCEN and all related
documents for a period of 5 years from the filing date.

9.14.6 Providing SARs information To SROs

[SEC letter to CEOs: http://imrirw.sec.gov/aboutloffices/ocie/brokerdealerletier.htm]

While SARs are to be treated as confidential, [The Fin'n] will provide SARs and supporting
documentation available to any self-regulatory organization (SRO) that examines [The Firm] for
compliance with the SAR Rule, upon request of the SEC. The request may be part of a routine
examination. an investigation, or part of the SRO's risk assessment effort within its examination
program,

9.14.7 Prohibition Against Disclosure

By statute and regulation, Alpine may not infomi customers or third parties that a transaction has been
reported as suspicious U.S. Treasury and Federa| Reserve Board regulations also require Alpine to
decline to produce SARs in response to subpoenas and to report to FinCEN and the Federa| Reserve
Board the receipt of such requests and Alpine's response. Fai|ure to maintain the con&dentiality of
SARs may subject an employee to civil and criminal penalties under Federa| law. Violations may be
enforced through civil penalties of up to $100.000 for each violation and criminal penalties of up to
$250,000 and/or imprisonment not to exceed five years Alpine may also be liable for civil money

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penalties resulting from AML deficiencies that led to improper SAR disclosure up to $25.000 per clay
for each day the violation continues

Procedures to protect the confidentiality of SARs include the foliowing:

¢ Access to SARs is limited to employees on a "need-to-know" basis

¢ SARs will be maintained in locked physical or electronic files

~ SARs may not be left on desks or on open computer files and must be viewed without access
by unauthorized persons

o SARs shared with others will be clearly marked "Conndential"

Compliance (or Alpine's counsel) is responsible for responding to subpoena requests and Compliance
will notify FinCEN and our primary federal regulator. where required by law.

9.14.7.1 Recipient Of An Unauthorized SAR Disc|osure

if you become aware of an unauthorized disclosure of a SAR or if you receive a subpoena request for
a SAR, immediately contact the Compliance Department Compliance will contact F|NCEN's Oflice of
Chief Counsel at (703) 905-3590. We may also be required to contact our primary federal regulator.

9.15 Requests And Written Notices From Enforcement Agencies

Under the Bank Secrecy Act, financial institutions are required to respond to federal banking agency
requests for information relating to anti-money laundering compliance. The Rule requires provision of
information and account documentation for any account opened, maintained, administered or
managed in the U.S. The AML Compliance Officer or designee maintains records of information
provided in response to regulators' requests including the request date of response, and information
provided.

9.15.1 Federal Banking Agency Requests - 120-Hour Rule

[USA PATR|OT Act Section 319(b)]

Upon receiving a request from a Federal banking agency, the AML Compliance Officer will provide the
requested information within 5 days (120 hours) of receiving the request or will make available the
information for inspection by the banking agency.

9.15.2 FinCEN Requests For information

[Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart E; USA PATR|OT Act Section 314; FinCEN 314(a) Fact Sheet:
http:/Iwww.fincen.gov/statutes_regslpatriot/pdf/Si 4afactsheet. pdfj

 

Resp°nsibmty - AML Compliance Ocher

 

o Deposit records purchase/sale records account records other
Resources records as required

 

v Upon request

 

 

 

 

 

 

Frequency
o Conduct a search of the required records
Action if a match is found, submit the Subject |nfon'nation Form to FinCEN
Retain copy of 314(a) list received
Record ~ Retain copies of the request
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c Notate records searched. and date of review and initial or sign the
314(a) list received

c information submitted (if a match is found) are retained in a FinCEN
information request file

`- Sign or initial 314(a) Search Self-Verihcation Page and retain

 

 

 

 

The Financial Crimes Enforcement Network (FinCEN) sends law enforcement requests to hnancial
institutions under Section 314(a) of the USA PATRlOT Act.

Requests for information from FinCEN will be forwarded to the AML Compliance Officer for response.
Vihthin 2 weeks of receipt of the request if a match is identified with a named subject the Subject
lnfonnation Form (included with FinCEN's request) will be fon/varded to FinCEN by electronic mail to
sy5314a@iincen.treas.gov or, if e-mail is not available, by fax at 703-905-3660.

FinCEN requests are confidential and may not be disclosed to the subject of the request Alpine will
not use information provided to FinCEN for any purpose other than (1) to report to FinCEN as required
under Section 314; (2) to allow the AML Compliance Officer to determine whether to establish or
maintain an account cr to engage in a transaction; or (3) to assist Alpine iri complying with any
requirement of Section 314.

9.15.3 Foreign Bank Correspondent Accounts

[USA PATRlOT Act Section 313]

Upon receipt of a written request from a Federal law enforcement officer for information about a
foreign bank correspondent account the AML Compliance Officer will provide the requested
information no later than 7 days after receipt of the request

The AML Compliance Officer is responsible to terminate any correspondent relationship with a foreign
bank within 10 business days of receiving a notice from the Treasury Dept. or the U.S. Attomey
Genera| that the foreign bank failed either to comply with a summons or subpoena or to contest it in a
U.S. court

9.16 Knowing the Customer

Being familiar with the customers financial resources business activities and sources of funds are
avenues for knowing the customer. The process of knowing the customer occurs at the time an
account is opened as well as during the operation of a customers account

The identity of customers must be verified when a new account is opened. Procedures for verifying
customer lD are explained in the chapter ACCOUNTS in the section New Accounts

9.17 Customer identification Program (C|P)

[USA PATRlOT Act Section 326; Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart B; F|NRA Notice to Mernbers 03-34;
FinCEN Frequently Asked Questions: http:l/www.tinoen.govlcip_faq.html; FinCEN No-Action position on C|P requirements
under clearing arrangements FiN-2008-GOOZ; Guidanoe on Obtaining and Retaining Beneficial Ownership lnforrnation,
FinCEN Guidance, FlN-2010-G001 March 5, 2010]

The opening of new accounts is subject to customer identity verification requirements under Alpine's
Customer identification Program (C|P). Requirements for employees opening accounts as explained
iri the chapter ACCOUNTS are duplicated in this section to consolidate all AML requirements within
this chapter.

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The use of the term "customer‘ in this section is understood to include prospective customers

9.17.1 Accounts Requiring Approva| By The AML Compliance Officer

The following accounts require review and approval by the AML Compliance Officer at the time of
opening. The AML Compliance Officer may require additional customer identification information for
these accounts

» Numbered accounts (accounts designating a number rather than a name as the account
name).

o Any account requesting confidential handling of its namel mailing of confirmation and
statements efc.

~ Accounts domiciled in high risk countries Accounts domiciled in countries identified by
OFAC or the Financial Action Task Force on Money Laundering (FATF) as having inadequate
anti-money laundering standards or representing high risk for crime and corruption.

- Foreign public officials includes individuals in high ofnces of foreign govemments, political
party officials and their families and close associates (if known and/or readily identifiable).

¢ Correspondent and Private Banking accounts See the section Due Diligence For
Correspondent And Private Banking Accounfs.

9.17.2 Customer identity Verification
This section is duplicated from the Chapter 11.1.1

 

Resp°nsib"ity ¢ Registered Principal

 

Resources - New account application and other customer lD information

 

Frequency v When accounts are opened

 

o Before the Designated Supervisor approves an account determine
that customer identification (lD) verincation information is included
with the new account application and that it meets Alpine's
requirements

¢ For non-documentary verification, check the information included with
the new account application for completeness and consistency with
other customer-provided information (name, address phone number,
taxpayer lD number, etc.)

~ For unacceptable verification information (incompiete, inconsistent),
return the application to the RR for further information or disapprove
the account

Action

 

o Each Customer hle shall contain the New Account Application and
records that include customer iD verification as well as the Designated

Record Supervisors signature signifying approval

 

 

 

 

When opening new accounts the customers identity must be verified, as required by federal law.
Customer identification (lD) information must be completed on the new account application.

Customer lD verification does NOT apply to accounts for:
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o persons with an existing account at Alpine (un|ess the account requires approval by the AML
Compliance Officer)

banks

govemmentai entities

issuers of listed equity securities

other financial institutions subject to regulation by the SECl CFTC, Federal Reserve Board,
OCC, FD|C, Office of Thrift Supervision, or the National Credit Union Administration

~ persons opening accounts to participate in an ERiSA plan

9.17.2.1 Required Customer information
Basic information required by law prior to opening the account includes:

Name
Date of birth, for an individual
Address:

o for an individual, residential or business street address if no street address exists or
is availablel an APO or FPO box number or the residential or business street address
of a next of kin or another contact individual

o for a non-individual (corporation, trust etc.) a principal place of business local office,
or other physical location.

o Taxpayer identification number for a U.S. person (U.S. citizen or non-individual established
or organized under U.S. or state laws).

o identification number for non-U.S. person which may include a taxpayer ID number,
passport number and country of issuance; alien identification card number; or the number and
country of issuance of any other govemment-issued document evidencing nationality or
residence and bearing a photo or similar safeguard

in the case of a customer who has applied for a taxpayer identification number but has not yet
received it, notation must be made on the new account application that the taxpayer lD has been
applied for. The account will be restricted to liquidating transactions if the taxpayer lD number is not
received within 30 days of opening the account

9.17.2.2 Accounts For individuals

When opening an account for an individuai, a photo copy of an unexpired govemment-issued
identification including a photo and residence address (such as a drivers liccense or passport), is
required and made a part of the customers account fiie.

9.17.2.3 Third Party Accounts
Customer lD required for third party accounts includes the following:

On behalf of an incompetent person: Obtain customer |D of the person holding power of attorney

With power of attorney or trading authorization held by a third party: Obtain customer lD of the
owner of the account Customer lD is not necessary for the individual with authority over the account
unless that person is unfamiliar to the RR or the circumstances regarding the opening of the account
raises questions (customer requires wiring funds to an offshore address; third party is a foreign
citizen; etc.).

9.17.2.3.1 Registered investor Adviser Accounts

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[SEC Division of Market Regulation No-Aciion Letter to SiFMA dated January 11. 2011:
http:l/www.sec.gov/divisionslmarketreglmr-noaction/201 1lsifma01 1 111.pdf]

For accounts established by registered investment advisers Alpine may rely on the adviser to have
obtained information to comply with federal Customer identification Program (C|P) rules under the
following circumstances

lt is reasonable to rely on the advisers assurances
the adviser is federally regulated (state-only registered lAs do not qualify); and

- the adviser signs an agreement that it will annually certifth Alpine that it has implemented an
anti-money laundering program and will perform (or its agents will perform) specified
requirements of Alpine's CIP.

9.17.2.3.2 Omnibus And Sub-Accounts

Omnibus and sub-accounts are sometimes established by or on behalf of financial intermediaries for
the purpose of executing transactions that will clear or settle at another financial institution or for
delivering assets to the custody account of the beneficial owner at another financial institution. Limited
information about the benencia| owner is used primarily to assist the financial intermediary with
recordkeeping or to establish sub-accounts to hold positions to be transferred to another financial
institution. Transactions are initiated by the financial intermediary and the bene&cial owner has no
direct control over the omnibus or sub-accounts

Under these circumstances Alpine is not required to look through the intermediary to the underlying
beneficial owners if the intermediary is identified as the accountholder. in the event the customers
identity cannot be adequately verified using documentary and non-documentary methods identity
information on the persons or entities controlling the account will be required

[SEC Q and A Regarding the Broker-Dealer Customer identification Program Rule, October1, 2003]
Omnibus and sub-accounts are sometimes established by or on behalf of financial intermediaries for
the purpose of executing transactions that will clear or settle at another iinancial institution or for
delivering assets to the custody account of the beneficial owner at another financial institution. Limited
information about the beneficial owner is used primarily to assist the hnancial intermediary with
recordkeeping or to establish sub-accounts to hold positions to be transferred to another financial
institution. Transactions are initiated by the nnancial intermediary and the beneficial owner has no
direct control over the omnibus or sub-accounts

Under these circumstances Alpine is not required to look through the intermediary to the underlying
beneficial owners if the intermediary is identified as the accountholder. ln the event the customers
identity cannot be adequately verified using documentary and non-documentary methods identity
information on the persons or entities controlling the account will be required

9.17.2.4 Accounts For Non-lndividuals

Account documents usually obtained for non-individual accounts (trust instruments corporate
authorization, partnership agreements government-issued business license, efc.) will usually satisfy
customer lD requirements in the case of corporations a corporate authorization is required. These
documents must be obtained within 30 days of account opening to satisfy the requirement

9.17.2.5 Non-Documentary Methods Of Verifying Customer identification

Non-documentary methods of verifying customer iD involve other procedures Non-documentary
methods must be used in the following circumstances

o An individual is unable to present acceptable photo lD.

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The documents presented are unfamiliar.
The account is opened without obtaining documents

v Other circumstances at the discretion of the RR‘s supervisor, New Accounts and/or the AML
Compliance Officer, where Alpine is unable to verify the customers identity.

in these circumstances a non-documentary method must be indicated by the RR on the new account
application;

Direct customer contact information

information from a consumer reporting agency or other database
References from another financial institution

Obtained a financial statement from a bank

Copy of a utility bill

9.17.2.6 Additional Verification For Certain Customers

For the following types of customers a minimum of TWO forms of customer iD are required in
addition to review and approval by the AML Compliance Officer prior to opening the account:

» Numbered accounts

~ Accounts domiciled in high-risk countries included on the Treasury Dept. OFAC list (check
with Operations personnel for a list of those countries or go to
htfp://www. ustreas. gov/office s/e otffc/ofac/sanctions/index. hfml)

~ Accounts for foreign public ofEcia|s (individuals in high office in other countries their families
and close associates political party officials)

9.17.2.7 Lack Of Customer lD Verif'ication

For customers presenting unacceptable customer lD at the time of account opening, the account
will not be opened.

For accounts where non-documentary verification results in substantive, unresolved
discrepancies (information that is inconsistent such as name, address taxpayer |D number, etc.),
either the account will not be opened or will be immediately closed.

Where inability to verify raises questions about the customer. filing a Suspicious Activity Report will be
considered (see the section Suspicious Activity Reports).

Questions regarding accounts that do not comply with requirements to verify customer lD should be
referred to the AlVlL Compliance Officer.

9.17.2.8 Customer Notice

Customers are provided notice, prior to opening an account that their identification will be veiified.
This notice may be on Alpine's web site, on new account applications or in other disclosures provided
at the time of account opening.

9.17.3 Customer identification Program Records

Customer identification verification records are retained with new account application records in
accordance with rule recordkeeping requirements and the terms of the other financial institution's
Customer identification Program (C|P) including:

o information recorded on the new account application
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~ documentary verihcation including information from or copies of govemment-issued |Ds or
passports

non-documentary veiincation

account approval or disapproval

resolution of discrepancies

referral of the account to the AML Compliance Ofncer

closing of an account that fails to meet C|P requirements

other records as may be required

9.17.4 Comparison With Government Lists

As required by lawl Alpine compares customer information against government lists The section
OFAC List And Blocked Property in the Anti-Money Laundering Program describes comparison of
accounts with lists published by the Treasury Dept.

9.18 ldentity Theft Prevention Program (FTC FACT Act Red F|ags
Rule)

[Fair and Accurate Credit Transactions Act (FACT Act) Section 114 and 315; F|NRA Regulatory Notice 08-69; F|NRA Red
Flags Rule web site: http://wvwv.finra.orgllndustry/|ssues/CustomerinformallonProtection/p118480; interagency Guidelines on
identity Theft Detection, Prevention, and Mitigafion: http://www.govcoliect.org/nies/Appendix%ZOA°/»20to%20Pait%206Ei1.prf'j

~ AML Compliance Officer

 

 

 

Responsibiiity
o New account information
o Order records
o Transaction information about cash or security transfers
Resources ¢ lnfon'nation reported by employees
¢ information from third party providers customers victims of identity
theft law enforcement agencies or others about potential identity theft
¢ When new accounts are opened
o When account addresses are changed
o Ongoing - review of order records and transaction information
~ As received - employee information
~ As required - when a third party is engaged, confirm third party
providers (including clearing firms) have identity theft program
procedures which may be included in an affirmation in the third party's
contract with A|pine
Annualiy - review of controls and procedures
Frequency Obtain senior management approval for any material changes to the

program and any material changes to the policy

» As needed - update program and provide revisions to senior
mangaement for review and approval of material changes Non-
materiai changes to the Policy will not require senior management
approva|.

o if directed by the CEO. provide revised procedures to the Board or
Board committee
Annualiy - report to CEO
Annualiy (or more frequentiy) - provide training for employees

 

o Establish and maintain the identity Theft Program
o Provide initial Program and subsequent material changes to
Action the Board, a Board Committee or CEO (if no Board exists) for
review and approval
o Review controls and procedures annually as part of the

 

 

 

 

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annual testing described in the chapter SUPERVISORY
SYSTEM, PROCEDURES AND CONTROLS

o Conduct reviews of orders and transactions to identify red flags

~ When red flags are identified, take corrective action which may
include:

o Consultation with the RR and/or supervisor

Monitoring the account

Contacting the customer

Changing passwordsl security codes or other security

devices that permit access to an account

Reopening an account with another account number

Not opening a new account

Closing an existing account

Filing a Suspicious Activity Report

Notifying law enforcement

o Taking no action if warranted

o Conduct other reviews which may include:

o Periodic use of lntemet search engines to identify web sites
using Alpine's or an RR‘s name

c Review online advertising to identify web sites for
unauthorized links to promote stock fraud or that appear to be
illegitimate

o if Alpine's or an RR‘s identity is being used in a scam, take action
which may include notifying regulators and the FB|. lodging a
complaint at www.i’tc.govl and if it involves email solicitation or
spoofing, forwarding email to spam@uce.gov

~ if a customers account has been compromised, take action
(described in a section that follows)

¢ include identity Theft Prevention Program in the annual report to CEO
(see the chapter SUPERVISORY SYSTEM, PROCEDURES AND
CONTROLS)l reporting:

o Effectiveness of the policies and procedures in addressing the
risk of identity theft

o Third party provider arrangements

o Signiticant incidents involving identity theft and management's
response

o Recommendations for material changes to the Program

o Review third party providers (including clearing finns) for adequacy of

identity theft programs
o Contractually require them to have policies and procedures to
detect Red Flags included in nnn policies and report them to
Alpine and/or take appropriate steps of their own to
prevent/mitigate identity theft

¢ Send confirmation of address change to the customers old address
when a change of address is made (see the section Change Of
Addresses On Accounts in the chapter FINANC/AL AND
OPERA TIONS PROCEDURES)

- Training:

o include identity theft in AML training
o Develop training, identify target employees and administer

000

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training
¢ Policies and procedures and revisions
Record o Reviews of orders and transactions with record of action taken
~ Red flags identified and record of action taken
o Annual testing of procedures (see SUPERV/SORY SYSTEM,
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PROCEDURES AND CONTROLS)

o Annual report to CEO (see SUPERVISORY SYSTEM,
PROCEDURES AND CONTROLS)

o Confirmation that third party providers (including clearing firrns) have
adequate iTPPs and include in the contracts with third parties

» Records of training including subjects included, date. who
administered and who attended

 

 

 

9.18.1 Firm Policy

Our firm's policy is to protect our customers and their accounts from identity theft and to comply with
the FTC's Red Flags Rule. We will do this by developing and implementing this written identify Theft
Prevention Program (lTPP), which is appropriate to our size and compiexity, as well as the nature and
scope of our activities This lTPP addresses 1) identifying relevant identity theft Red Flags for our firml
2) detecting those Red Flagsl 3) responding appropriately to any that are detected to prevent and
mitigate identity theft and 4) updating our lTPP periodically to reflect changes in risks

Our identity theft policies procedures and lntemal controls will be reviewed and updated periodically
to ensure they account for changes both in regulations and in our business

Ruie.~ 16 C.F.R. § 631.1(d).

9.18.2 lTPP Approva| and Administration

Alpine's AML Officer is the designated identity theft prevention officer and is responsible for the
oversight development implementation and administration (including staff training and oversight of
third party service providers of iTTP services) of this lTPP.

Alpine’s Executive Committee will review and approve this lTPP whenever there are material
modifications to the policy.

Rule: 16 C.F.R. § 681 . 1 (e) and Appendix A, Section VI. (a).

9.18.3 Reiationship to Other Firm programs

We have reviewed other policies procedures and plans required by regulations regarding the
protection of our customer information, including our policies and procedures under Regulation S-P.
and our Customer identification Program (C|P) and red flags detection under our Anti-Money
Laundering (AML) Program in the formulation of this lTPP, and modified either them or this lTPP to
minimize inconsistencies and duplicative efforts

Rule: 16 C.F.R. § 681.1, Appendix A, Section /.

9.18.4 identifying Reievant Red Flags

To identify relevant identity theft Red Flags our firm assessed these risk factors 1) the types of
covered accounts it offers 2) the methods it provides to open or access these accounts and 3)
previous experience with identity theft Our firm also considered the sources of Red Flags including
identity theft incidents our irm has experienced. changing identity theft techniques our firm thinks

 

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likely to occurl and applicable supervisory guidanoe. ln addition, we considered Red Flags from the
following five categories (and the 26 numbered examples under them) from Supplement A to
Appendix A of the FTC's Red Flags Ru|e. as they fit our situation: 1) alerts notifications or warnings
from a credit reporting agency; 2) suspicious documents; 3) suspicious personal identifying
information; 4) suspicious account activity; and 5) notices from other sources We understand that
some of these categories and examples may not be relevant to our firm and some may be relevant
only when combined or considered with other indicators of identity theft. We also understand that the
examples are not exhaustive or a mandatory checklistl but a way to help our firm think through
relevant red flags in the context of our business Based on this review of the risk factors sources and
FTC examples of red flags we have identi&ed our firm's Red Flags which are contained the first
column (“Red Flag") of the attached "Red Flag ldentification and Detection Gn`d" (“Grid").

Ru/e.' 16 C.F.R. § 681.1(d)(2)(i) and Appendix A, Secfion /I.

9.18.5 Detecting Red Flags

We have reviewed our covered accounts how we open and maintain them, and how to detect Red
Flags that may have occurred in them. Our detection of those Red Flags is based on our methods of
getting information about applicants and verifying it under our ClP of our AML policies and
procedures authenticating customers who access the accounts and monitoring transactions and
change of address requests For opening covered accounts that can include getting identifying
information about and verifying the identity of the person opening the account by using the hnn’s C|P.
For existing covered accounts it can include authenticating customers monitoring transactions and
verifying the validity of changes of address Based on this review, we have included in the second
column (“Detecting the Red Flag”) of the attached Grid how we will detect each of our tinn’s identified
Red Flags

Rule.' 16 C.F.R. § 681.1(d)(2)(ir) and Appendix A, Section III.

9.18.6 Preventing and Mitigating ldentity Theft

We have reviewed our covered accounts how we open and allow access to them. and our previous
experience with identity theft, as well as new methods of identity theft we have seen or foresee as
likely to occur. Based on this and our review of the FTC's identity theft rules and its suggested
responses to mitigate identity theft, as well as other sources we have developed our procedures
below to respond to detected identity theft Red Flags

9.18.6.1 Procedures to Prevent and Mitigate ldentity Theft

When we have been notined of a Red Flag or our detection procedures show evidence of a Red Flag,
we will take the steps outlined below, as appropriate to the type and seriousness of the threat:

Apglicants. For Red Flags raised by someone applying for an account:

1. Review the application. We will review the applicant’s information collected for our ClP under
our AML Program (e.g., name, date of birthl address and an identification number such as a
Socia| Security Number or Taxpayer identification Number).

2. Get government identification. lf the applicant is applying in person, we will also check a
current government-issued identification card. such as a driver's license or passport

3. Seek additional verification. |f the potential risk of identity theft indicated by the Red F|ag is
probable or large in impact, we may also verify the person’s identity through non-documentary
ClP methods including;

a. Contacting the customer

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independently verifying the customer’s information by comparing it with information
from a credit reporting agencyl public database or other source such as a data broker
or the Social Security Number Death Master File.

Checking references with other affiliated financial institutions or

Obtaining a financial statement

4. Deny the application. if we find that the applicant is using an identity other than his or her
own, we will deny the account

5. Report. lf we find that the applicant is using an identity other than his or her own, we will
report it to appropriate local and state law enforcement; where organized or wide spread
crime is suspected, the FB| or Secret Service; and if mail is involvedl the US Posta| lnspector.
We may also, as recommended by FlNRA’s Customer information Protection web page’s
“Firm Checkiist for Compromised Accounts” report it to F|NRA, ; the SEC and State
regulatory authorities

6. Notification. lf we determine personally identifiable information has been accessed, we will
prepare any specihc notice to customers or other required notice under state iaw.

Access seekers. For Red Flags raised by someone seeking to access an existing customers account:

1. Watch. We will monitorl |imit, or temporarily suspend activity in the account until the situation
is resolved.

2. Check with the customer. We will contact the customer using our ClP information for them,
describe what we have found and verify with them that there has been an attempt at identify

theft.

3. Heightened n`sk. We will determine if there is a particular reason that makes it easier for an
intruder to seek access such as a customesz lost waiiet, mail thelt. a data security incidentl
or the customer’s giving account information to an imposter pretending to represent the firm or
to a fraudulent web site.

4. Check similar accounts We will review similar accounts the firm has to see if there have been
attempts to access them without authorization.

5. Collect incident infon'nation. For a serious threat of unauthorized account access we may, as
recommended by F|NRA's Customer information Protection web page's “Firm Checkiist for
Compromised Accounts” collect if available:

a.

Firm information (both introducing and clearing finns):

i. Firm name and CRD number

ii. Firm contact name and telephone number

masses

Dates and times of activity

Securities involved (name and symbo|)

Detai|s of trades or unexecuted orders

Detai|s of any wire transfer activity

Customer accounts affected by the activityl including name and account numberl and
Whether the customer will be reimbursed and by whom.

6. Regort. if we Hnd unauthorized account access we will report it to appropriate local and state
law enforcement; where organized or wide spread crime is suspected, the FB| or Secret
Servioe; and if mail is involved, the US Postal |nspector. We may aiso. as recommended by
F|NRA's Customer information Protection web page's "Firm Check|ist for Compromised
Accounts," report it to F|NRA; the SEC; and State regulatory authorities

7. Notification. if we determine personally identifiable information has been accessed that results
in a foreseeable risk for identity theft, we will prepare any specific notice to customers and to
others where required by law or regulation.

8. Review our insurance golicy. Since insurance policies may require timely notice or prior
consent for any settlement, we will review our insurance policy to ensure that our response to
a data breach does not limit or eliminate our insurance coverage.

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9. Assist the customer. We will work with our customers to minimize the impact of identity theft

by taking the following actions as applicable:

a. Offering to change the password, security codes or other ways to access the

threatened account;
Offering to close the account;
Offering to reopen the account with a new account number;
Not collecting on the account or selling it to a debt collector; and
instructing the customer to go to the FTC identity Theft Web Site to learn what steps
to take to recover from identity theft including filing a complaint using its Ue_
complaint fon'n, calling the FTC's identity Theft Hotline 1-877-lD-THEFT (438-4338).
'l'l'Y 1-866-653-4261. or writing to identity Theft Clearinghouse, FTC. 6000
Pennsyivania Avenue, NWl Washington, DC 20580.

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Rule.' 16 C.F.R. § 681.1(d)(iii) and Appendix A, Sectl`on ll/.

9.18.7 Alpine Employees Reporting Ob|igations

identity thieves use someone's personal identifying information to open new accounts and misuse
existing accounts Alpine has established an identity Theft Prevention Program (lTPP) to help detect
and prevent identity theft Many elements of detecting or preventing identity theft utilize similar
techniques to that of the anti-money laundering (AML) requirements included within these policies

The lTPP is based on identifying "red flags" which may indicate an occurrence of identity theft lt is
the responsibility of all employees to be attentive and alert to the red Hags and report to the
AML Compliance Officer any new or existing customers who may be engaged in violations of
anti-money laundering regulations identity theft or who have reported an instance of identity
theft

For a list of potential identity theft red flags refer to the section titled "Red Flag /denfilication and
Detection Gn'd" located in the ldentity Theft Prevention Program (FTC Fact Act Red Flags Rule)
section.

9.18.8 Service Providers

We may use other service providers in connection with our covered accounts ln the event we utilize
other service providers we have a process to confirm that any other service provider that performs
activities in connection with our covered accounts especially other service providers that are not
otherwise regulated, comply with reasonable policies and procedures designed to detect prevent and
mitigate identity theft by contractually requiring them to have policies and procedures to detect Red
Flags and report detected Red Flags to us or take appropriate steps of their own to prevent or mitigate
the identify theft

Ru/e: 16 C.F.R. § 681. 1(e)(4) and Appendix A, Section Vi.(c).

9.18.9 internal Compliance Reporting

Fin'n staff responsible for developing, implementing and administering our lTPP will report at least
annually to our Executive Committee on compliance with the FTC's Red Flags Rule. The report will
address the effectiveness of our lTPP in addressing the risk of identity theft in connection with
covered account openings existing accounts service provider arrangements signiGcant incidents
involving identity theft and management's response and recommendations for material changes to our
lTPP.

Rule.' 16 C.F.R. § 681 . 1, Appendix A, Section VI.(b).

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9.18.10 Updates and Annual Review

Our firm will update this plan whenever we have a material change to our operations structurel
business or location or to those of our clearing finn, or when we experience either a material identity
theft from a covered account or a series of related material identity thefts from one or more covered
accounts Our firm will also follow new ways that identities can be compromised and evaluate the risk
they pose for our firm. in addition, our firm will review this lTPP annual|y, to modify it for any changes
in our operations structure, business or location or substantive changes to our relationship with our

clearing hn'n.

Rule.' 16 C.F.R. § 681.1 (d)(2)(iv) and Appendix A, Sections V. and Vl. (a) & (b).

9.18.11 Red Flag identification and Detection Grid

 

Red F|ag

 

Detecting the Red F|ag

 

Category: Suspicious Documents

 

5. identification presented looks altered

or forged.

Our staff who deal with customers and their supervisors
will scrutinize identihcation presented in person to make
sure it is not altered or forged.

 

6. The identification presenter does not
look like the identincation's photograph
or physical description.

Our staff who deal with customers and their supervisors
will ensure that the photograph and the physical
description on the identincation match the person
presenting it.

 

7. lnfonnation on the identification
differs from what the identification
presenter is saying.

Our staff who deal with customers and their supervisors
will ensure that the identification and the statements of
the person presenting it are consistent

 

8. information on the identification does
not match other information our firm has
on file for the presenter, like the original
account application. signature card or a
recent check.

Our staff who deal with customers and their supervisors
will ensure that the identification presented and other
information we have on file from the account

 

9. The application looks like it has been
aitered, forged or torn up and
reassembied.

Our staff who deal with customers and their supervisors
will scrutinize each application to make sure it is not
altered, forged, or torn up and reassembied.

 

 

 

 

 

 

Category: Suspicious Personal identifying information

 

 

 

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10. inconsistencies exist between the
information presented and other things
we know about the presenter or can find
out by checking readily available
external sources

if we receive a consumer credit report, they will check
to see if the addresses on the application and the
consumer report match.

 

11. inconsistencies exist in the
information that the customer gives us

Our staff will check personal identifying information
presented to us to make sure that it is internally
consistent

 

12. Personal identifying information
presented has been used on an account
our firm knows was fraudulent

Our staff will compare the information presented with
addresses and phone numbers on accounts or
applications we found or were reported were fraudulent

 

13. Personal identifying information
presented suggests fraud, such as an
address that is fictitious a mail drop, or
a prison; or a phone number is invalid,
or is for a pager or answering service.

Our staff may validate the information presented when
opening an account by looking up addresses on the
lntemet to ensure they are real and not for a mail drop
or a prison, and may call the phone numbers given to
ensure they are valid and not for pagers or answering
services

 

14. The SSN presented was used by
someone else opening an account or
other customers

Our staff may compare the SSNs presented to see if
they were given by others opening accounts or other
customers

 

15. The address or telephone number

presented has been used by many other

people opening accounts or other
customers

Our staff may compare address and telephone number
information to see if they were used by other applicants
and customers

 

16. A person who omits required
information on an application or other
form does not provide it when told it is
incomplete.

Our staff will track when applicants or customers have
not responded to requests for required information and
will follow up with the applicants or customers to
determine why they have not responded

 

17. inconsistencies exist between what
is presented and what our hm'r has on
file.

Our staff will verify key items from the data presented
with information we have on file.

 

 

18. A person making an account
application or seeking access cannot
provide authenticating information
beyond what would be found in a wallet
(or consumer credit report, if applicable)
or cannot answer a challenge question.

 

Our staff may authenticate identities for existing
customers by asking challenge questions that have
been prearranged with the customer and for applicants
or customers by asking questions that require
information beyond what is readily available from a
wallet or a consumer credit report

 

 

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Category: Suspicious Account Activity

 

 

19. Soon after our firm gets a change of
address request for an account we are
asked to add additional access means
(such as debit cards or checks) or
authorized users for the account

We will verify change of address requests by sending a
notice of the change to the old addresses so the
customer will learn of any unauthorized changes and
can notify us

 

20. A new account exhibits fraud
pattems such as where a first payment We will review new account activity to ensure that
is not made or only the hrst payment is payments are made, and that credit is primarily used for

made, or the use of securities easily securities easily converted into cash. if margin is
converted into cash. if margin is permitted.
pennitted.

 

21. An account develops new patterns
of activity, such as nonpayment
inconsistent with prior history, a material
increase in credit use, or a material
change in spending pattems, or
electronic funds transfers (if applicabie).

We will review our accounts periodic basis and look for
suspicious new patterns of activity such as
nonpayment a large increase in credit use, or changes
in spending patterns or electronic fund transfers (if
applicabie).

 

22. An account that is inactive for a long We will review our accounts on a periodic basis to see if
time is suddenly used again. long inactive accounts become very active.

 

23. Mail our firm sends to a customer is
returned repeatedly as undeliverabie We will note any returned mail for an account and

 

even though the account remains immediately check the account's activity.

active.

24. We learn that a customer is not We will record on the account any report that the
getting his or her paper account customer is not receiving paper statements and
statements immediately investigate them.

 

25. We are notified that there are
unauthorized charges or transactions to
the account

We will verify if the notification is legitimate and involves
a Hn'n account and then investigate the report

 

 

 

 

 

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Category: Notice From Other Sources

 

 

enforcement

26. We are told that an account has
been opened or used fraudulently by a We will verify that the notihcation is legitimate and
customer. an identity theft victim, or law involves a firm account and then investigate the report

 

 

We learn that unauthorized access to
the customer‘s personal information
took place or became likely due to data unauthorized access to determine if other steps are
loss (e.g., loss of wallet birth certificate, warranted.

or iaptop), leakage, or breach.

We will contact the customer to learn the details of the

 

 

 

9.19 Due Diligence For Correspondent And Private Banking

Accounts

[Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart F; USA PATRlOT Act Section 312 and 313; FinCEN Fact Sheet
(http:/iwvim.iinoen.gov1312factsheetpdf); FinCEN guidance regarding Rule 312 due diligence requirements
http://www.sia.com/moneyLauridering/pdf/SlA-F|AfromFiriCEN05-02-06.pdf]

 

Responsibiiity

AML Compliance Officer

 

Resources

New account application

Foreign bank certification

lnfon'nation about a foreign bank subsequent to opening that indicates
it is a foreign shell bank where ari account may not be maintained

 

Frequency

As required when accounts are opened
Monthly - review of accounts identified for due diligence reviews

 

Action

Conduct due diligence for correspondent and private banking
accounts
For foreign bank accounts:

0

0

Review certification to determine:
- All required information is included
- inconsistencies (i.e., location of the foreign bank‘s
regulated afnliate is consistent with the designated
banking authority that supervises the foreign bank
and its regulated affiliate)
Ensure procedures are in place to restrict transactions in
accounts that do not provide certification within 30 days of
opening the account
Close existing prohibited accounts for foreign shell banks
Review re-certiiications
Ensure procedures are in place to re-certify foreign banks
within three years of original certification

 

Record

 

 

Record of the AML Officers review is maintained in new account

 

 

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records on the applicable fonn:
o New account application
o Certitication form
o Re-certification form
¢ Records of closing or restricting accounts are retained with new
account records

 

 

 

 

Due diligence requirements apply when opening and handling correspondent and private banking
accounts that are maintained in the U.S. for non-U.S. persons "Enhanced due diligence" is required
for:

~ Correspondent accounts for foreign banks in jurisdictions of money laundering concern or
operating under an off-shore license
¢ Private banking accounts for senior foreign political hgures

The purpose of these requirements is to detect and report known or suspected money laundering
activity.

9.19.1 Definitions

Correspondent account: includes any account established for a foreign financial institution to
receive deposits from, or to make payments or other disbursements on behalf of, the foreign
institution, or to handle other financial transactions related to such foreign financial institution. This
type of account presumes a formal relationship through which the financial institution provides regular
services

Private banking account: A private banking account is an account that is established or maintained
for the benefit of one or more non-U.S. persons requires minimum aggregate deposit of funds or
other assets of not less than $1.000,000, and is assigned to a bank employee who is a liaison
between the financial institution and the non-U.S. person, lf the account othen~ise satisfies the
definition but the institution does not require a minimum balance of $1,000,000, the account does not
qualify as a private banking account

Senior foreign political figure includes:

o a current or former senior official in the executivel legislativel administrative, militaryl or
judicial branches of a foreign govemment. whether or not they are or were elected ofiiciais

~ a senior official of a major foreign political party

o a senior executive of a foreign government-owned commercial enterprise (Senior executives
are individuals with substantial authority over poiicy, operations or the use of government-
owned resources.)

o immediate family members of the above. and those who are widely and publicly known (or
actually known) close associates of a senior foreign political figure

~ a corporation. business or other entity formed by or for the benefit of one of the above
individuals

- a person "wide|y and publicly known“ as a close associate of such a person

Proceeds of foreign corruption: any asset acquired by, through. or on behalf of a senior foreign
political figure through misappropriation, theft or embezzlement of public funds the unlawful

conversion of property of a foreign govemmentl or through acts of bribery or extortion, and include
any other property into which any such assets have been transformed or converted.

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Foreign bank: defined under the Bank Secrecy Act as a bank organized under foreign law, or an
agency, branchl or bank office located outside the United States The term does not include an agent
agencyl branch or oche within the U.S. of a bank organized under foreign law.

Foreign shell bank: a foreign bank without a physical presence in any country.

Regulated affiliates a foreign shell bank that (1) is an affiliate of a depository institutionl credit unionl
or foreign bank that maintains a physical presence in the United States or a foreign country. as
applicable; and (2) is subject to supervision by a banking authority in the foreign country regulating
such affiliated depository institutionl credit union, or foreign bank.

9.19.2 Due Diligence For Correspondent Accounts For Foreign Financial
institutions
Due diligence requirements apply to the following types of foreign financial institutions:

~ Foreign bank

o Foreign branch of a U.S. Bank

o A business organized under a foreign law that if located in the U.S., would be a securities
broker-dealer. futures commission merchant introducing broker in commodities or a mutual
fund

¢ A money transmitter or currency exchanger organized under foreign law

The Dept. of Treasury has established the following minimum due diligence requirements

determine whether the account is subject to enhanced due diligence

assess the money laundering risk posed. based on risk factors

apply risk-based policies procedures and controls to each account including periodic review
of activity

Factors considered in determining due diligence include:

nature of services provided to the account

length of relationship

the AML supervisory regime in the account's home country

any information known or reasonably available about the account's AML record

Due diligence procedures include the foilowing:

Correspondent accounts for foreign financial institutions are forwarded to the AML Compliance
Officer, at the time of openingl for review.

~ Review the account's home country vs. OFAC lists of jurisdictions of money laundering

concern and blocked persons
o lf identihed on an OFAC list report the account and close it.

o Review new account information about the account including source of revenue and assets
whether the person/entity has existing accounts with Alpine, length of time the RR has known
the account who referred the account and other available information about account
background and how the account came to Aipine.

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- lf there is inadequate information or due diligence procedures cannot be perfon'ned, refuse to
open the account or close an existing account
o File a SAR, if appropriate.
o if the account is approved for opening, determine whether ongoing review is necessary.
o if ongoing review is appropriate. establish duplicate statements or another method for
review of account activity by the AML Officer.
o Review will include identifying patterns of securities transactions and
securities/money transfers that may be indicative of money laundering activity, and
report such activity if necessary and close the account

9.19.2.1 Enhanced Due Diligence For Foreign Banks
Enhanced due diligence is required for a correspondent account for a foreign bank that is operating:

under an offshore license;

in a jurisdiction found to be non-cooperative with international AML principles or

in a jurisdiction found to be of primary money laundering concern under the USA PATRlOT
Act.

The following requirements appiy:
Refer the account to the AML Compliance Of&cer to:

- conduct appropriate enhanced scrutiny;
determine whether the foreign bank itself offers correspondent accounts to other foreign
banks (i.e., nested accounts) and, as appropriate. identify such foreign bank customers and
conduct additional due diligence on them; and
identify the owners of such foreign bank. if its shares are not publicly traded.
determine whether the account appears on any OFAC |ist;
approve or reject the account
determine whether ongoing review is necessary.
o if yes establish duplicate statements or other method for ongoing review.
~ report the account if appropriate.

9.19.2.2 Prohibition Against Correspondent Accounts For Foreign Sheii Banks

[Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart F; USA PATRlOT Act Section 313]

Alpine is prohibited from establishingl maintaining. administering, or managing a correspondent
account in the United States for an unregulated foreign shell bank, The prohibition does not apply to a
foreign shell bank that is a regulated affiliate if an account is inadvertently opened for an unregulated
foreign shell bank, the AML Compliance Officer must be notihed and the account will be immediately
closed.

9.19.2.3 Foreign Bank Certification

[FinCEN Frequently Asked Questions re Certification: http:/lwww.fincen.gov/iaqsguidance.pdf]

When opening an account for a foreign bank, Aipine is obligated to ensure the bank is not a foreign
shell bank and must obtain information about the foreign bank's owners and an agent for service of
process The bank must complete the Foreign Bank Certification which must be submitted to the AML
Compliance Officer with a copy of the new account application for review. Every three years the bank
is also required to re-certify the information filed with Alpine.

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9.19.2.4 Special Measures

[USA PATRlOT Act Section 311; Bank Secrecy Act 31 CFR Chapter X Part 1010 Subpart F; F|NRA Notice to Members 06-41;
FinCEN information on all special measures issued: http:I/www.tincen.gov/reg_secu'on311.html]

 

v Designated Supervisor

 

 

Responsibiiity
¢ FinCEN notification of special measures against named entities
Resources ¢ Transaction records
o Customer account records
Frequency ¢ As required when notified by FinCEN

 

Establish blocks on opening accounts for named entities

Notify correspondent accountholders

Action ¢ Review transactions to identify indirect use of correspondent accounts
and close such accounts

 

» Notices from FinCEN
¢ Notifrcation to correspondent accountholders

Record o Transactions reviewed. identification of indirect use, and action taken

 

 

 

 

Some foreign jurisdictions, foreign financial institutions international transactions or types of accounts
are designated to be of "primary money laundering concem" by the Secretary of the Treasury. This
designation obligates Alpine to take certain "special measures" against the primary money laundering
concem. The Secretary of Treasury announces when an entity is considered to be a primary money
laundering concem. These special measures include:

~ A prohibition against opening or maintaining a correspondent account in the U.S. for or on
behalf of the primary money laundering concern including at the time of announcement
review of existing account records to identify any prohibited accounts

o Notification to correspondent accountholders that the account may not be used to provide the
primary money laundering concern with access to Alpine

~ Reasonab|e steps to identify an indirect use of correspondent accounts by the primary money
laundering concern by review of transaction-based records

9.19.3 Due Diligence For Private Banking Accounts

[Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart F]

Private banking accounts:

~ include accounts established for a non-U.S. beneficial owner.
o include accounts where the beneficial owner is an individual:
o who has a level of control over, or entitlement to, the funds in the account
o who directly cr indirectly controls, directs, or manages the account
o for whom an account is established. maintained, or administered in the U.S.
o exclude accounts for hedge funds (and other pooled vehicles) and corporations (that are not
personal investment companies ["P|Cs"])_
o include accounts for P|Cs and trusts for the benefit of individual owners.

Requirements for due diligence:
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Detennine the identity cf all nominal and beneficial owners of the private banking account
Detennine the purpose and expected use of the account

Deterrnine whether any such owner is a senior foreign political cfficial.

Deterrnine the source(s) of funds deposited into the private banking account and the purpose
and expected use of the account

~ Review the account activity:

o to ensure consistency with information about the account

o to report suspected money laundering activity.

Factors considered in determining due diligence include:

» ls the client from a jurisdiction identihed by the federal government as a jurisdiction subject to
OFAC restrictions or as having weak AML controls?
~ ls the customer's business cash intensive?

Alpine cannot rely on foreign institutions tc perform due diligence for private banking accounts, and
clue diligence obligations are ongoing.

9.19.4 Enhanced Scrutiny For Accounts Of Senior Foreign Politica| Figures

Accounts for senior foreign political figures (including persons and entities defined in this secticn) are
subject to enhanced scrutiny:

Prior to openingl the account is referred to the AML Officer for review and approval.

o Review the account's home country vs. OFAC lists of jurisdictions of money laundering
concern and blocked persons.

o lf identified on an OFAC listl report the account and close it.

» Review new account information about the account including employment historyl sources of
income and assets, whether the person/entity has existing accounts with Alpine, length of
time the RR has known the account, who referred the account, and other available
information about account background of the account and how the account came to Alpine.

~ lf there is inadequate information or due diligence procedures cannot be performed , refuse to
open the account cr close an existing account

o File a SAR, if appropriate.
o |f the account is approved for cpening, determine whether ongoing review is necessary
o lf ongoing review is appropriate, establish duplicate statements or another method for
review of account activity by the AlVlL Officer.
o Review will include identifying patterns of securities transactions and
securities/money transfers that may be indicative of money laundering activity, and
report such activity if necessary and close the account

9.20 She|| Companies

[FinCEN advisory on shell companies: http://www.fincen.gov/AdvisoryOnShells_FlNAL.pdf]

Shell companies can represent a potential money laundering risk. Most shell companies are formed
for legitimate business reasons, but some have been used for illicit purposes.

"Shell company" refers to non-publicly traded corporations, limited liability companies (LLCs), and
trusts that typically have no physical presence (0ther than a mailing address) and generate little or no
independent economic value. Legitimate purposes including holding stock or intangible assets of

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another business entity (such as subsidiary company shares) but are not engaged in active business
operations or facilitating domestic and cross-border currency and asset transfers and corporate
mergers. State laws allow shell companies to obscure company structure, ownership, and activities,
so there is little transparency to enable Alpine to understand with whom they are dealing.

Agents that act as intermediaries or nominee incorporation services (N|S) can play a central role in
creating, maintaining, and supporting shell companies Some agents and N|S firms also provide
individuals and businesses with nominee services that preserve the anonymity of underlying ochers.
directors, and stockholders

Shell companies are subject to review which may include:

o Checking accounts and owners (if information is available) against OFAC restrictions (applies
to all accounts)
Obtaining information about underlying owners
Obtaining assurances from the shell company representative that principals have been
screened

9.20.1 Confidentia| Reporting of AML Non-Compliance

Employees will report any violations of the tirm's AML compliance program to the AML Compliance
Officer, unless the violations implicate the AML Compliance Officer, in which case the employee shall
report to the firm‘s CCO. Alpine believes that compliance with the AML policies and procedures set
forth herein are of paramount importance and must be facilitated by the finn. All employee reports
concerning AML violations will be kept confidential and no employee ramifications will result from its
strict adherence

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